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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

Pro se (Non Prisoner)
Consent & Registration Form to Receive Documents Electronically

Pursuant to Fed. R. Civ. P. 5(b), and Fed. R. Civ. P. 77(d), Local Civil Rule 5.2 and the
Court’s Electronic Case Filing Policies and Procedures, documents may be served through the
court’s transmission facilities by electronic means. Documents that are not permitted to be
served electronically are pleadings that are to be served with process under Fed.R.Civ.P. 4.

I ~ YOSWUBL ONASO hereby consent to receive service of

documents and notice of electronic filings via the Court’s electronic filing system to the extent
and in the manner authorized by the above rules and waiving the right to receive notice by first
class mail pursuant to Fed.R.Civ.P. 5(b)(2)(D) and Fed.R.Civ.P. 77(d).

Pursuant to Local Civil Rule 10.1, I will promptly notify the Court if there is a change in
my personal data, such as name, address, and/or e-mail address. I will promptly notify the Court
to request cancellation of electronic service.

Litigants who have consented to receive documents electronically will be sent a Notice
of Electronic Filing via e-mail. Upon receipt of the notice, they are permitted one “free look”
at the document by clicking on the hyperlinked document number. The one “free look” will
expire 15 days from the date the notice was sent. After the “free look” is used or expires, the
document can only be accessed through PACER (Public Access to Court Electronic Records.) It
is recommended that litigants establish a PACER account. This can be accomplished by visiting
the PACER web site at http://pacer.psc.uscourts.gov. PACER is an automated system that
allows an individual to view, print, and download documents for a fee.

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Helpful Hints:

~ All original papers submitted for consideration to the Court are to be filed with the Clerk of this
Court. Copies of papers filed in this Court are to be served upon counsel for all other parties (or
directly on any party acting pro se). Proof that service has been made is provided by a
certificate of service. This certificate should be filed in the case along with the original papers
and should show the day and manner of service.

Example: “1, (name), do hereby certify that a true and correct copy of the foregoing (name
of pleading or other paper) has been served upon (name(s) of person(s) served)
by placing the same in the U.S. Mail, properly addressed this (date) day of

(month), (year).’ UL,
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~ Any request for court action shall be set forth in a motion, properly filed and served. (Please see
the Motion Guide included in this packet.)

~ No direct communication is to take place with the District Judge or United States Magistrate
Judge with regard to this case. All relevant information and papers are to be directed to the
Clerk.

~ The parties should notify the Clerk’s office when there is an address change. Failure to do so

could result in court orders or other information not being timely delivered, which could affect
the parties’ legal rights.
